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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       CAUSE NO.: 2:19-CR-115-TLS
                                                     )
PIERRE YATES                                         )

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION

       This matter is before the Court on the Findings and Recommendation of the United States

Magistrate Judge [ECF No. 137], filed on October 13, 2020. The Defendant has waived

objection to the Findings and Recommendation.

       The Court being duly advised, ADOPTS the Findings and Recommendation [ECF No.

137] in its entirety and ACCEPTS the recommended disposition. Subject to this Court’s

consideration of the Plea Agreement pursuant to Federal Rule of Criminal Procedure 11(c), if

applicable and necessary, the plea of guilty to the offense charged in Count 3 of the Indictment is

hereby ACCEPTED, and the Defendant is adjudged GUILTY of the offense.

       The Sentencing Scheduling Order scheduling sentencing-related deadlines and hearings

will be issued by separate order.

       SO ORDERED on November 5, 2020.

                                                s/ Theresa L. Springmann
                                                 JUDGE THERESA L. SPRINGMANN
                                                UNITED STATES DISTRICT COURT
